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                      EXHIBIT A
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 District Court, Denver County, Colorado
 Court Address:
                                                          DATE FILED: September 28,201 5 12:14 PM
 1437 Bannock Street, Denver, Colorado 80202
 In re the Interest of:

 JOANNE BLACK,
                                   Protected Person.


 Attorney or Party Without Attorney (Name and Address)
                                                              & COURT USE ONLY
                                                             Case Number:
                                                                                   ..
                                                             12 PR 1772
  Phone Number:                 Email:
  FAX Number:                  Atty. Reo. #:                 Courtroom 224
                                 HEARING ORDER

 THIS MATTER came before the Court for hearing June 16-17, 2015, August 5,
 2015 and September 8, 2015. Present were Bernard Black represented by
 Counsel Bernard Poskus and Patrick Thiessen; Lisa DiPonio, Court Appointed
 Counsel ("CAC") for the Protected Person ("PP); Gayle Young, Guardian ad
 Litem ("GAL") for the PP; Anthony Dain, Esq.; Cherie Wrigley; Nancy Peterson,
 Esq., Special Conservator. The PP appeared by telephone for portions of the
 hearings and her New York Counsel Ira Saltzman appeared by telephone for all
 of the proceedings. The Court heard testimony, statements and argument of
 Counsel, reviewed exhibits entered into evidence, the record and relevant
 authority. The Court takes judicial notice of the filings in its case file .

 The Court finds the Conservator, Bernard Black, has breached his fiduciary
 duties as to the Protected Person, his sister, is removed as Conservator, and is
 surcharged. The Court revokes Mr. Black's Letters and recommends he not be
 appointed as a fiduciary in any capacity as to Joanne Black, be it guardian of her
 person or of her property and that he be removed as Executor for his mother,
 Renata Black's, probate estate.


                                  Case Background

 Bernard Black is an attorney, admitted to practice in 1982 and is employed since
 2010 as a professor of law, marketing and finance at Northwestern University in
 Chicago. Mr. Black testified he was educated at Stanford and Columbia
 Universities. Anthony Dain is an attorney who has practiced for 34 years in
 patents and banking in the State of California. Cherie Wrigley is a retired high
 school resource specialist who worked with special needs children and children
 with behavioral problems. Ms. Wrigley testified she holds two masters degrees
 and currently works with the mentally ill at a homeless shelter. Ms. Wrigley also
 worked as a CASA volunteer for two years. The Court finds these parties are
 highly educated and understand the role of a fiduciary. Interested persons

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  Anthony Dain and Cherie Wrigley are brother and sister, and are first cousins to
  Bernard and Joanne Black on each of their mother's side of the family. The Court
  understands that Ms. Wrigley and Bernard Black both have filed competing
  petitions for appointment as guardian with the Court in New York State where
  Joanne Black resides.

  Bernard Black petitioned the Denver Probate Court ("DPC") on October 16, 2012
  for appointment as his sister's conservator, the equivalent to a guardian of the
  property. As grounds for the appointment, Mr. Black asserted his sister suffered
  from schizophrenia, was in a psychotic state and homeless in Denver, Colorado
  and that she had recently inherited three million dollars ($3,000,000) from their
  mother, Renata Black. Specifica lly, Mr. Black advised the Court through his
  petition that Renata Black's Will had directed two-thirds (2/3) of her residuary
  estate to be placed into a Supplemental Needs Trust ("SNT") for Joanne Black's
  benefit; that Renata Black had changed the beneficiary designations on certain
  assets and as a result. those assets passed outright to Joanne Black rather than
  passing into the Supplemental Needs Trust. Mr. Black filed copies of Renata
  Black's Will, the SNT and Issue Trust with this Court. Mr. Black filed an amended
  petition for appointment as both permanent and specia l conservator on
  November 19, 2012 alleging the same grounds as the original petition. Both
  petitions describe Joanne Black's inheritance in Paragraph 15.a. as being in the
  sum of $3,000,000.00.

  The fact of Joanne Black's long-standing mental illness is not disputed; nor is her
  inability to manage her financial affairs. The Court appointed Counsel and a GAL
  to both represent Joanne Black and to ensure her best interests were protected
  in these proceedings.

  The evidence adduced at trial shows Renata Black set up a SNT for Joanne
  Black's benefit on December 19, 1997. The SNT named Renata Black and
  Anthony Dain as co-trustees, with Bernard Black to serve as a successor co-
  trustee in the event Renata Black was unable to serve . Also on December 19,
  1997, Renata Black set up what is referred to as the "Issue Trust" to benefit
  Bernard Black and his children. Co-trustee s for the Issue Trust are Renata Black,
  Bernard Black and Anthony Dain. Renata Black died on May 1, 2012 and Mr.
  Black was appointed as the Executor of her estate by the Surrogate's Court in
  New York State effective June 21, 2012 .

  Although not specifically pied in any petition or separate motion, Mr. Black's initial
  proposed order filed with the Court on November 13, 2012 stated that upon
  appointment as conservator he intended to disc laim Joanne Black's interest as
  beneficiary under all payable on death or transferable on death accounts ("POD"
  or "TOD") into Renata Black's estate " ... allowing Respondent's share to pass
  under Article Fourth of the Last Will and Testament of Renata Black ... under
  which two thirds of the estate of Renata Black will be contributed to a
  Supplemental Needs Trust for the Benefit of Joanne Black." Hearing for Mr.


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 Black's appointment was held on December 11, 2012 and he was duly appointed
 as conservator for Joanne Black with unlimited authority. That same day the
 Court signed the order of appointment which stated at Paragraph 6 that as
 conservator, Mr. Black would place Joanne Black's assets into a Supplemental
 Needs Trust for Respondent's benefit. This order, dated December 11, 2012
 directed the conservator to file the Inventory and Financial Plan with the Court by
 March 11, 2013 and to report Joanne Black's assets as they existed on the date
 of his appo intment. Subsequent to his appointment, through Counsel, Mr. Black
 filed amended and second amended orders of appointment with the Court.

 The amended order filed on January 29, 2013 included verbiage in Paragraph 6
 that Respondent's assets "will be placed into a Supplemental Needs Trust for
 Respondent's benefit". Paragraph 9 specified that as conservator Mr. Black
 would have authority to disclaim Respondent's interest in POD or TOD accounts
 with Vanguard and Fidelity, with Joanne Black's share to pass under Renata
 Black's Will where two thirds of the estate was to be contributed to the SNT to
 benefit Joanne Black.

 The second amended order filed on February 13, 2013 also stated at Paragraph
 6 that Respondent's assets "will be placed into a Supplementa l Needs Trust for
 Respondent's benefit''. Paragraph 9 of the February 13, 2013 order states that as
 conservator Mr. Black would disclaim Joanne Black's interest as beneficiary
 under all POD or TOD accounts with Vanguard and Fidelity.

 Another second amended order was filed with the Court on March 2, 2013. This
 order also contains verbiage which states at Paragraph 6 that Respondent's
 assets "will be placed into a Supplemental Needs Trust for Respondent's
 benefit" . Paragraph 9 of the March 2, 2103 proposed order appears ident ical to
 verbiage contained in the second amended order filed February 13, 2013.

 The Court signed an Amended Order filed on March 5, 2013. This order again
 requires the conservator to file an inventory and financial plan on March 11, 2013
 to report Joanne Black's assets existing on the date of appointment, and directed
 the conservator at Paragraph 6 to place Respondent's assets "into a
 Supplemental Needs Trust for Respondent's benefit." Paragraph 9.a. authorizes
 the conservator to disclaim Respondent's interest as beneficiary under all POD
 or TOD accounts with Vanguard and Fidelity owned by Respondent's mother,
 Renata Black.

  Mr. Black did not file the Inventory and Financial Plan with the Court until July 1,
  2013 . The Inventory listed the sum of $2,230,996.00 as the value of the PP's
  assets existing on the date of appointment, December 11, 2012 . The court
  approved the Inventory and Financial Plan on July 16, 2013.
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 ordered to appear before the Court to show cause why his letters should not be
 revoked. Mr. Black then filed the annual report on June 23, 2014. The Court
 review process noted increased expenditures which were not approved on the
 financial plan and as a result, Mr. Black filed an amended annual report on
 September 8, 2014 with explanations for the increased expenditures. Mr. Dain
 filed an objection to the amended annual report on September 19, 2014. Mr.
 Dain's objection was primarily aimed at venue, noting the PP had by that time
 been a resident of New York State and he objected to Mr. Black's petition for
 guardianship, also filed during this time frame in the DPC. As pertinent to the
 issues before the Court at present, Mr. Dain asserted that Mr. Black had not
 responded to requests for an accounting of the SNT, had ignored questions
 regarding administration of the SNT and had inappropriately denied or restricted
 distributions from the SNT. The GAL filed a Supplemental Report on October 8,
 2014 which recommended this Court deny the guardianship petition and stated
 she had concerns " ... about Mr. Black's management of Joanne Black's financial
 affairs." The concerns raised by the GAL at this time were that Mr. Black had
 requested authorization to withhold the amended conservator's report from the
 PP and that he failed to respond to the Court's Order dated July 2, 2014
 regarding significantly higher expenses on the financial plan.

 As a result of the GAL's report with recommendations and the objections filed,
 the Court entered an Order on October 27, 2014 which denied the guardianship
 petition and ordered Mr. Black to show cause why the conservatorship should not
 also be dismissed and .an accounting ordered. Mr. Black's response to the
 Court's order essentially outlined the New York State proceedings for
 guardianship of Joanne Black's person and property and requested the Colorado
 conservatorship remain in place until the fiduciary was appointed in New York
 State. Mr. Black also asserted that the GAL should not have addressed the
 continued need for a conservatorship in her report without first speaking with him.
 Mr. Dain filed a reply to Mr. Black's response and again asserted Mr. Black had
 not accounted to him in his position as co-trustee for the SNT and had not
 provided copies of the bank account statements despite requests for them. Mr.
 Black then filed a further response along with copies of bank statements and
 accountings.

 After Mr. Black's further response was filed with the Court, Mr. Dain filed an
 objection which noted for the first time that Mr. Black was to "marshal and
 manage $3.5 million in assets held in brokerage accounts solely for the Protected
 person." Mr. Dain asserted that Mr. Black had failed to fully account and
 breached his duties by transferring the assets to a probate estate where he
 divided the assets one third to a trust for his children and two thirds to two trusts
 for the protected person without accounting to the Court for what has now been
 identified as the Issue Trust. Mr. Dain requested a forensic accounting be
 undertaken. Cherie Wrigley also filed an objection which asserted, inter alia, that
 Mr. Black had not accounted for all of the funds in the POD accounts the PP                     ~
 inherited from Renata Black.                                                           ~t,:.~
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  Coinciding with the objections and infonnation that had been filed with the Court,
  the GAL filed a Motion for Independent Forensic Review of Financial Records.
  CAC filed a Motion to Void the Conservator's Disclaimers, to Deposit the
  Vanguard and Fidelity Assets in Trust with the Court and Request for a Status
  Conference. In a Supplemental Objection filed with the Court on March 25, 2015,
  Mr. Dain advised this Court that Mr. Black had, during adversary proceedings in
  New York, admitted that he had transferred approximately $1 million of the PP's
  assets into the Issue Trust. The GAL joined in Mr. Dain's concerns and
  objections through a report she filed with the Court on March 30, 2015. This
  Court held the Status Conference requested by CAC on April 2, 2015.

  The parties stipulated to a forensic accounting. The Court suspended Mr. Black's
  authority to act as conservator and appointed a Special Conservator to act in the
  interim until a permanent conservator or guardian of the property was appointed
  by the Court in New York. This Court also entered an order to freeze Joanne
  Black's assets and all accounts in the conservatorship, pending final resolution.
  Mr. Black's request for release of trust and conservatorship funds to pay attorney
  fees and costs to defend this action was held in abeyance pending further
  proceedings. The Court then scheduled an evidentiary hearing and framed the
  hearing issues as:

          a) whether the disclaimer obtained by Mr. Black as to the accounts at
  Fidelity and Vanguard POD to Joanne Black should have acted to divest Ms.
  Black of 1/3 of these non-probate assets; and

         b) whether it was properly disclosed that Mr. Black intended or had
  authority to redirect one-third of the non-probate assets to persons other than
  Ms. Black.

  Also before the Court are two other matters. Mr. Dain filed a Motion for Issuance
  of a Contempt Citation alleging that Mr. Black violated the Court's order freezing
  assets and used estate funds to pay his attorney fees in Colorado and New York
  and expert accounting witness. CAC filed a motion requesting the Court to
  consider civil theft based on findings reflected in the forensic accounting report.
  The forensic accounting reported that Mr. Black had failed to report all of Ms.
  Black's assets as of the date of his appointment and instead only reported her
  assets as listed after he used the order to disclaim the POD accounts.

  The Court finds, after evidentiary hearing that Mr. Black did not properly disclose
  to this Court that he intended to use the disclaimer to redirect one-third of the
  non-probate assets to persons other than Ms. Black and as a result of his failure
  to disclose, did not have authority to redirect the assets. The Court finds the
  disclaimer was obtained without providing full disclosure and therefore should not
  have divested Ms. Black of one-third of the POD assets left to her. The Court
  finds Mr. Black's actions constitute a breach of his fiduciary duty as conservator~~~,.
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  and that the appropriate remedy is surcharge. The Court finds Mr. Black did
  violate the Court's order directing that estate funds not be used to pay attorney
  and other fees pending final hearing but also finds that Mr. Black did return the
  majority of funds he paid to his attorneys in violation of this Court's order, which
  funds were held in counsel's trust account. The Court finds Mr. Black's actions do
  meet all of the elements of civil theft and that as a sanction he should be
  assessed treble damages and pay for the costs of the action and reasonable
  attorney fees. Finally, the Court finds Mr. Black did not report Joanne Black's
  assets as they existed on the date of his appointment, December 11, 2012 but
  instead reported her assets as they existed after he disclaimed the POD funds on
  her behalf and redirected one-third of her assets into the Issue Trust.

                                       Disclaimer

   As noted above, Mr. Black never specifically requested through petition or
  separate motion permission to disclaim assets. The only references to the
  disclaimer were made through verbiage inserted into the proposed orders of
  appointment. The petition stated that Renata Black had changed the beneficiary
  designations on certain assets and as a result, those assets passed outright to
  Joanne Black rather than passing into the Supplemental Needs Trust.
  Regardless of verbiage referencing the manner in which Renata Black's
  residuary estate was to be divided, the language regarding the POD designations
  states the assets passed outright to Joanne Black rather than passing into the
  SNT which is a clear indication of intent to transfer all POD assets into the SNT.

  During the appointment hearing held on December 11, 2012, Mr. Black advised
  the Court that the basic purpose of the conservatorship would be to make sure
  Joanne Black had money from her mother put into a trust and that their cousin,
  Mr. Dain, would then be the trustee of the trust. (Hearing transcript, page 6, lines
  23-25, page 7, lines 1-3). The only other reference to the PP's funds during the
  appointment hearing was made by the court where the court stated on page 17,
  lines 11-13 that "the process of moving the funds into the trust can be reported
  on ... ", referring to the conservator's obligation to file an inventory and financial
  plan within ninety days of appointment, reporting the value of assets as of the
  date of appointment and movement of the disclaimed funds into the SNT.

  The Court finds its own memory and understanding based on the references to
  disclaimer made during the initial appointment phase was that Mr. Black intended
  to disclaim all assets held POD to Joanne Black in Vanguard and Fidelity
  accounts and move the funds into the SNT for the sole benefit of Joanne Black.
  This understanding was created by Mr. Black's statements in his initial petition
  which advised the Court that Renata Black had changed the beneficiary
  designations on certain assets and as a result, those assets in the sum of $3
  million passed outright to Joanne Black rather than into the SNT and the
  statements made by Mr. Black at the appointment hearing that the funds would
  be placed into a trust with Mr. Dain as trustee. The Court signed two orders o ~~~!~t~9.~
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 appointment. The first Order signed December 11, 2012 specifically directs at
 Paragraph 6 that "Respondent's assets will be placed into a Supplemental Needs
 Trust for Respondent's benefit." As noted above, Respondent's assets were
 identified in the petitions as the sum of approximately $3 million.

 The second amended order submitted by Mr. Black on January 29, 2013 was
 specifically not signed by the Court as it contained language referring to Renata
 Black's Will directing that two thirds of her estate would be contributed to a SNT
 for Joanne Black's benefit. This order was deliberately not signed by the Court at
 the time, as it did not comport with the Court's understanding of what Mr. Black
 intended to do once he disclaimed the funds in the Fidelity and Vanguard
 accounts. It was the Court's specific understanding that once Mr. Black
 disclaimed the funds, all of the funds would be placed into the SNT as directed
 by Renata Black's Will . At no time was it the Court's understanding that Mr. Black
 intended to divide the disclaimed funds and divert one-third of the funds into the
 Issue Trust. Neither the petition, amended petition nor any of the proposed
 orders actually state the disclaimed funds would be divided. The references
 given to the terms of Renata Black's will, when read together with the statements
 of the amounts left to the PP in the POD accounts, give the specific
 understanding that all of the POD account funds would be transferred into the
 SNT. This understanding is supported by the amended form of order submitted
 on March 5, 2013 which states at Paragraph 6 that Respondent's assets would
 be placed into a SNT for Respondent's benefit and at Paragraph 9.a. that Mr.
 Black had authority as conservator to disclaim the POD funds held in the Fidelity
 and Vanguard accounts. These two paragraphs on the order submitted and
 signed March 5, 2013 reflect the Court's understanding that all of Joanne Black's
 assets subject to the disclaimer would be placed into the SNT without division or
 diminution.

  During trial, CAC, the GAL and Mr. Dain testified their understanding was the
  same as the understanding held by the Court. Through trial and review of the
  record, the Court finds that Bernard Black did not fulfill his duty of candor to the
  Court and at no time did he explain or represent his true intentions with regard to
  the funds held in the Vanguard and Fidelity accounts to either the Court, the GAL
  CAC or his co-trustee, Mr. Dain. Mr. Black's insistence that because he
  referenced Renata Black's Will, the SNT and Issue Trust and provided copies of
  those instruments his duty of candor and full disclosure were fulfilled falls far
  short of the mark. Mr. Black's position essentially states the Court had the
  primary duty to discern Mr. Black's intentions by reading the Will, SNT and Issue
  Trust instruments rather than having the intention fully disclosed by Mr. Black to
  the Court. Indeed, Mr. Black testified that the other one-third was implicitly going
  somewhere else. Mr. Black also admitted during his testimony that during the
  appointment phase he "in effect" disclosed the existence of the issue trust to the
  Court, thereby admitting he did not explicitly explain to the Court what the
  intended effect of the disclaimer would be.



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  Because Mr. Black failed to plainly and fully disclose his intentions and the
  intended result of the disclaimer, the Court finds the order granting author ity for
  the disclaimer was not obtained after full disclosure. In addition, it was revealed
  at trial that Mr. Black failed to disclose the existence of a Roth IRA account also
  left to the PP at any time prior to his appointment or on the Inventory filed with
  the Court . The existence of the Roth IRA was revealed by the forensic
  accounting performed by Pamela Kerr .

                               Breach of Fiduciary Duty

  Bernard Black, through his petition for appointment as conservator and the
  Court's orders, is a fiduciary for Joanne Black. Bernard Black also had fiduciary
  responsibilities to Joanne Black as the Executor of Renata Black's Will and as a
  co-trustee for the SNT . Bernard Black failed to disclose to the Court, GAL, CAC,
  Mr. Dain and Respondent that he intended to divert one-third of the POD assets
  into the Issue Trust which benefitted himself and his children, thereby breaching
  his fiduciary duties to Respondent Joanne Black . As a result, the sum of
  $1,511,356.00 was not transferred into the SNT. Mr. Black's breach of his
  fiduciary duty was the sole reason these funds were not placed into the SNT.

  Mr. Black was the sole signatory on the bank accounts holding estate and trust
  funds . Mr. Black has attempted to shift some of the blame for his actions onto his
  cousin, Anthony Dain. Mr. Dain was named as co-trustee for the SNT. As noted
  above, Mr. Dain comp lained to the Court in writing and through his testimony that
  he was unable to obtain an accounting from Mr. Black. At trial Mr. Dain explained
  that once he was unable to obtain an accounting or a bank statement from Mr.
  Black, he declined to be added as a signatory on any of the accounts due to the
  concerns he had deve loped and for fear that his professional license would be at
  risk. Based on the information adduced at trial the Court finds Mr. Dain's fears
  were justified. The Court finds none of the actions taken by Mr. Black had
  anything to do with what Mr. Dain did or did not do and any accusations to the
  contrary are reprehensib le.

  The Court finds the evidence shows Renata Black had a long-standing estate
  plan which generally prov ided that two-thirds of her estate would be placed into a
  SNT to benefit Joanne Black and that one-third of her estate would be placed in
  an Issue Trust to benefit Bernard Black and his children. The Court finds this
  generally was the understanding of Bernard Black, his wife, Mr. Dain and Ms.
  Wrigley . It was Mr. Black's further understanding that funds held in the accounts
  at Vanguard and Fidelity did not have designated beneficiaries and would pass
  through Renata Black's estate upon her death and then be distributed in
  accordance with the estate plan as expressed in her Will. Unbeknownst to Mr.
  Black, Renata Black altered her estate plan prior to her death and directed that
  POD designation s be placed on the Vanguard and Fidelity accounts, with 95% of
  the funds given to Joanne Black directly and 1% to each of Mr. Black's five
  children from his first marriage . Although not disclosed at all initially, discovery~~
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  confirmed at trial revealed the existence of a Roth IRA which was left POD to
  Joanne Black in its entirety. Mr. Black's second wife, with whom he has two
  children, testified that upon learning about the POD designations to accounts
  which previously were intended to pass through the estate and be divided two-
  thirds and one-third, she intended to initiate a lawsuit to recover funds since her
  children would not now receive an inheritance as all funding for the Issue Trust
  was dependent upon the monies held in the Vanguard and Fidelity accounts .

  Mr. Black testified that faced with the knowledge that his wife intended to sue
  Renata Black's estate, of which he was executor, he sought a different
  resolution. Mr. Black also testified he thought there was a good argument which
  could be brought before the probate court to invalidate the POD designations .
  Rather than a straightforward request to the probate court, Mr. Black devised a
  plan to obtain disclaimers from his sister and each of his five older children so the
  funds could then be liquidated and passed through the decedent's estate as
  originally planned. There were no conversations with Mr. Dain about this plan.
  There were, however, discussions with Ms. Wrigley regarding the plan and she
  attempted to assist Mr. Black with obtaining a disclaimer directly from Joanne
  Black. Ms. Wrigley testified that although Mr. Black did not tell her how he came
  up with the concept of the disclaimer or what its effect would be, he assured her
  that he would put the funds received into the SNT with Mr. Dain as trustee, again
  not explaining the two-third, one-third division. Joanne Black was in a psychotic
  state at this time and homeless in Denver, and any attempt to have her sign a
  disclaimer had to be abandoned so the conservatorship case was filed in the
  DPC.

  The Court finds Mr. Black had a clear conflict of interest regarding the funds held
  in the POD accounts. Mr. Black is also the Executor of the probate estate and a
  successor trustee for the SNT. Mr. Black and his children are beneficiaries under
  the Issue Trust. None of this information was disclosed to the Court, to the GAL
  or CAC. Based on Mr. Black's own testimony that he disclosed in the information
  "in effect" and that it was "implicit" displays his intention that the full facts not be
  plainly disclosed. Of even more concern, Mr. Black testified he deliberately chose
  to file the inventory and financial plan after he had already disclaimed the funds,
  despite the statutory requirement that the inventory reflect the PP's assets as of
  the date of appo intment. At no time did Mr. Black disclose the entirety of the PP's
  estate to the Court. The Court finds the actions taken by Mr. Black based in part
  on his own testimony were deceptive and undertaken in bad faith.

                                        Civil Theft
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  disclose the existence of the Roth IRA account and he only reported the
  Vanguard and Fidelity account balances after he disclaimed and divided the
  funds. Only upon review of the amended inventory was it realized by others that
  one-third of the $3 million in assets claimed on the initial petition were missing.
  The Court finds the Motion for Civil Theft Damages, filed by CAC on June 15,
  2015 was filed well within the two year limitation period.

  Review of the record and the evidence reflects all of the elements for C.R.S. 18-
  4-401 are met in this case. Without a doubt, Mr. Black knew the funds designated
  in POD accounts to Joanne Black and his children did not belong to him. Mr.
  Black developed a plan to divest Joanne Black and his children of the funds
  specifically left to them by Renata Black. To carry out that plan, Mr. Black
  deliberately withheld full disclosure of his intention to this Court when he sought
  and received permission to disclaim the funds. Mr. Black never advised this court
  the POD accounts at issue were left in part to his children and he never advised
  this Court the Issue Trust or the Roth IRA existed. The dilemma Mr. Black found
  himself in was never explained to any Court until these contested proceedings
  were held. The Court therefore finds Mr. Black knowingly obtained and exercised
  control over the POD account funds without authorization and by deception.

  The Court finds Mr. Black intended to permanently deprive Joanne Black of one-
  third of the POD funds. The Court does not so find with respect to Mr. Black's
  children, as they apparently received their funds as beneficiaries of the Issue
  Trust. Joanne Black, on the other hand, has been permanently deprived of her
  funds. Mr. Black has knowingly used Joanne Black's POD account funds to fund
  the Issue Trust set up under Renata Black's estate plan and it is clear from his
  own testimony that he intended to and still intends to permanently deprive her of
  those funds . Mr. Black deliberately concealed the POD account funds by failing
  to fully disclose their existence and amount on the inventory due March 11, 2013
  which by Colorado statute is required to declare all assets held by the PP on the
  date of appointment which in this case was December 11, 2012. There is no
  doubt that Mr. Black's actions were knowing and willful and that he knew the
  result of his actions would be that one-third of Joanne Black's POD funds would
  be diverted to himself and his children through the vehicle of the Issue Trust.

  Whether Mr. Black had a cause of action in the New York probate court to modify
  or invalidate the POD designations is not an issue for this Court's decision. Mr.
   Black did not give the New York Court (or this Court either, for that matter) the
  opportunity to review the situation or any of the facts testified to before this Court
   regarding Renata Black's state of mind or her intentions. It also appears Renata
   Black created another Will which was not offered for probate in New York. Mr.
   Black never sought advice from his co-trustee Mr. Dain as to whether he would
  consider an agreement to divide the funds as contemplated by the original estate
   plan. As pointed out by Counsel for Mr. Black, this Court does not have
  jurisdiction to make determinations within Renata Black's estate, as that power ~~:-r-
   lies with the New York Court. Mr. Black's rationalizations for his actions canno ~~~!~t~;'
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  overcome the basic facts that he deliberately failed to fully disclose his intentions
  or the full facts to this Court. This Court therefore proceeds on the facts and
  evidence before it and finds Mr. Black has committed civil theft against Joanne
  Black beyond a reasonable doubt. Mr. Black had an independent legal duty to
  Joanne Black in a fiduciary capacity as her conservator and as co-trustee of her
  Special Needs Trust beyond his fiduciary duty to her as executor of Renata
  Black's estate. Mr. Black is not entitled to rely on his receipt of the funds, as he
  obtained them by deception and by extension, his children are not entitled to rely
  on their receipt of the funds in excess of the POD amounts given to them by
  Renata Black.

  The Court finds by clear and convincing evidence that Renata Black intended
  funds be provided to Joanne Black after her death to provide for Joanne Black's
  welfare. Joanne Black has suffered from a debilitating mental illness for the
  majority of her life and is unable to work or sustain herself independently. C.R.S.
  18-4-405 states the owner of funds obtained by theft may recover $200.00 or
  three times the amount of the actual damages sustained by him, whichever is
  greater, and may also recover costs of the action and reasonable attorney fees.
  The award of treble damages is not discretionary. In re Krupka, 317 B.R. 432
  (Bankr.D.Colo. 2004).

                         Damages, Costs and Attorney Fees

  The Court finds significant expenses have been incurred to try this case at the
  expense of the Joanne Black and Renata Black estates. The Court finds Bernard
  Black has not made any efforts to mitigate the costs and fees incurred. The Court
  finds Pamela Kerr's report reflects a significant amount of work documenting Mr.
  Black's use of estate funds. Mr. Black chose to object to the forensic results,
  insisting the accounting should be based on his version of events. This position
  not only was inappropriate as it impeded the Court's attempts to determine the
  exact amount of funds which had been diverted to the Issue Trust from the POD
  accounts, but significantly increased the cost to the parties. Ultimately, on the
  date of the surcharge hearing and using the information provided by Ms. Kerr,
  the parties agreed the misappropriated funds from the Vanguard and Fidelity
  accounts totaled $1,010,688.00 and the funds misappropriated from the Roth
  IRA totaled $500,558.00. The parties further agreed that 8% interest was due
  from the date of transfer.

  Ms. Kerr's accounting shows that Mr. Black transferred funds into an excessive
  number of different accounts, which can only be likened to a shell game. It took
  an extraordinary effort by Ms. Kerr to trace where funds were placed and the
  expenses paid by the funds. This is best shown by Summary Exhibit D, admitted
  into evidence on September 8, 2015. This exhibit shows 25 different accounts
  were created to hold funds related to this case, encompassing Renata Black's
  original accounts at Vanguard and Fidelity and accounts opened by Mr. Black as
  Executor, Trustee and conservator. The Court finds 15 of these accounts appear~~                  ....
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  to be completely unnecessary. The Court further finds Mr. Black caused a new
  trust to be created for Joanne Black at a significant cost to Joanne Black's estate
  which also appears to be completely unnecessary. The evidence provided to the
  Court indicates Mr. Black failed to account for tax consequences when he
  caused the second SNT to be created and manipulated funds and transactions
  between Joanne Black's conservatorship estate and her trust and Renata Black's
  estate, so that Joanne Black would bear the brunt of any tax ramifications. As a
  result, tax consequences to Renata Black's estate were minimized and the
  benefit passed on to Bernard Black and his children to Joanne Black's detriment.

  C.R.S. 15-10-605(1) states that if the court determines any proceedings were
  brought, defended or filed in bad faith, the court may assess the fees and costs,
  including reasonable attorney fees incurred against the estate, party, person or
  entity that brought or defended the proceedings in bad faith. C.R.S. 15-10-605(4)
  states that a fiduciary who is unsuccessful in defending the fiduciary's conduct in
  a proceeding alleging breach of fiduciary duty shall not recover the fees or costs
  of that defense as the court deems equitable.

  The Court finds Bernard Black has breached his fiduciary duties and has
  defended this action in bad faith for the reasons discussed above. The Court
  finds Bernard Black should personally bear the cost for these proceedings, to
  include but not be limited to the full amount of attorney fees and costs for the
  Guardian ad Litem Gayle Young, Court Appointed Counsel Lisa DiPonio and
  Forensic Accountant Pamela Kerr. Invoices have been submitted and requests
  for further hearing as to the imposition of fees and costs or the reasonableness of
  the fees and costs charged must be filed with the Court within 14 days from the
  date of this order. The Court finds from the record before it that Joanne Black
  and her estate have derived a compensable benefit from the efforts of the GAL,
  CAC, Pamela Kerr and Anthony Dain, noting the amount at issue was a full one-
  third of the total estate left to Joanne Black by her mother. The Court finds
  Bernard Black should fully reimburse Joanne Black's estate for the amounts he
  spent creating a second trust.

  IT IS THEREFORE ORDERED:

     1. Bernard Black has breached his fiduciary duty as conservator for his sister
        Joanne Black and is REMOVED as conservator. Any Letters issued to
        Bernard Black are hereby REVOKED. The word revoked shall be written
        upon the face of the Letters.

     2. Bernard Black is SURCHARGED the sum of $1,511,356.00 representing
        the full amount of disclaimed funds. Judgment enters in the sum of
        $1,511,356.00 against Bernard Black and in favor of Joanne Black.
        Interest shall accrue at the statutory rate of 8% per annum effective from
        the date the funds were transferred from Renata Black's Vanguard,



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         Fidelity and Roth IRA accounts. The judgment entered this date is based
         upon breach of fiduciary duties and is not dischargeable in bankruptcy.

     3. All costs, fees and attorney fees incurred to prosecute this matter shall be
        paid by and chargeable to Bernard Black, including GAL fees and fees for
        Pamela Kerr's accounting and services . Any such fees and costs ,
        including attorney fees paid by Joanne Black or her estate shall be
        reimbursed by Bernard Black with interest.

     4. The Motion Requesting the Court to Consider Civil Theft Damages is
        granted. Treble damages based in civil theft are awarded to Joanne Black
         in the sum of $4,534,068 .00 and judgment is entered for this amount
        against Bernard Black and in favor of Joanne Black . Interest shall accrue
        at the statutory rate of 8% per annum from the date of this Order. This
        judg ment is based in civil theft and is not dischargeable in bankruptcy.

     5. This Court recommends that Bernard Black not be appointed as a
        fiduciary for his sister Joanne Black in any capacity and especially not in
        any capacity involving Joanne Black's funds. The Court recommends
        Bernard Black be removed as the Executor of Renata Black's estate and
        that his actions as Executor be closely reviewed and examined. The Court
        recommends Mr. Black be removed as a trustee or co-trustee for any trust
        of which Joanne Black is a beneficiary.

     6. The Court, from the evidence before it, finds the actions of Cherie Wrigley
        and Anthony Dain have solely been for the benefit of their cousin, Joanne
        Black. Ms. Wrigley and Mr. Dain have been instrumental in bringing Mr.
        Black's defalcations to the attention of the Court. Ms. Wrigley, by virtue of
        her special relationship with Joanne Black and her training, is especially
        suited to be appointed as guard ian over the person of Joanne Black. Mr.
        Dain was fully justified in his decision to not be added as a signatory to
        accounts set up by Mr. Black. Mr. Dain is fully qualified to continue to act
        as a sole trustee or as a co-trustee for any trust naming Joanne Black as a
        beneficiary.

     7. The Court recommends a professional fiduciary be appointed to act as
        Joanne Black's conservator or guardian of her property in New York State.

     8. The Special Conservator is granted full authority to act as Conservator for
        Joanne Black until a conservator or guardian of the property is appointed
        by the Court in New York State. The Special Conservator's authority is
        unlimited and includes the authority to pay outstanding fees and costs to
        the professionals identified in this action pending reimbursement or
        collection from Bernard Black until the time these duties are transferred to
        the permanent conservator or guardian of the property.



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     9. All funds held by Counsel for Bernard Black shall be immediately paid to
        the Special Conservator to defray the costs of these proceedings and pay
        the GAL, CAC, Special Conservator and Pamela Kerr's fees if they have
        not already been paid.

     10. This Court retains such jurisdiction over this action as is necessary while
         the protective proceeding remains pending in New York State and until the
         Court in New York makes a determination of who will serve as guardian
         and conservator or guardian of the property for Joanne Black. Because of
         the judgments entered, this Court retains jurisdiction until the judgments
         are paid in full. Retention of jurisdiction with regard to the judgments will
         not restrict, impede or prevent action taken by a fiduciary appointed by a
         Court in New York State to collect on any such judgment or take any
         actions as are necessary to fully and finally resolve any financial issues
         between Bernard Black and Joanne Black. It is this Court's intention that
         any jurisdict ion retained run concurrently with the Court in New York.

     11. It has been shown that Bernard Black paid funds to his attorneys after this
        Court entered its orders freezing the accounts. Bernard Black paid a
         portion of those funds back in the sum of $115,000.00 which were held in
         his counsel's trust account and were previously ordered to be paid over to
        the Special Conservator. The Court must find, however, that the motion for
        contempt citation was not filed in strict compliance with C.R.C.P. 107, in
        that an order for issuance of a citation and a citation were not filed with the
        court. The Court therefore declined to issue a citation. C.R.CP. 107
        requires personal service upon a contemnor and without strict compliance
        of these requirements, the Court does not obtain jurisdiction to impose a
        fine or jail sentence. The Court does, however, retain jurisdiction to
        determine the full amount of funds withdrawn by Mr. Black in
        contravention of the Court's order freezing accounts. The Court will
        therefore entertain further motion to determine the amount which remains
        due, if any, to be repaid by Mr. Black as to his failure to abide by this
        order, including the entry of a judgment.

     12. The Court will entertain further motion to determine the amounts to be
         repaid by Mr. Black for causing an unnecessary trust to be set up for
         Joanne Black using her conservatorship estate funds, including the entry
         of a judgment.




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      13.This Court remains extremely concerned that its orders and intentions will
         be misrepresented by Bernard Black and Counsel appearing on his behalf
         to New York Courts as has apparently been done previously. This Court
         hopes that any questions which may arise as a result of this Order or any
         clarifications deemed necessary will be quickly brought to this Court's
         attention for resolution.


  DONE this 28th day of SEPTEMBER, 2015.

                                          BY THE COURT:



                                          Elizabeth D. Leith
                                          JUDGE
                                          Denver Probate Court




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